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                          l4I.   Bilateral discussions were also used to coordinate prices with CRT
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     manufacturers that did not ordinarily attend the group meetings, such as Defendant Mitsubishi
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     and co-conspirators Hitachi, Toshiba, Panasonic and Samtel. It was often the case that in the few
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5
     days following a top or management meeting, the attendees at these group meetings would meet

6    bilaterally with the other conspirators for the purpose of communicating whatever CRT pricing

7    and/or output agreements had been reached during the meeting. For example, Samsung SDI had a

8    relationship with Hitachi and was responsible for communicating CRT pricing agreements to

9    Hitachi. LG Electronics had a relationship with Toshiba and was responsible for communicating
l0   CRT pricing agreements to Toshiba. Similarly, Samsung SDI had regular communications with

11   Defendant Mitsubishi. And Thai CRT had a relationship with Samtel and was responsible for

12   communicating CRT pricing agreements to Samtel. Hitachi, Toshiba and Samtel implemented
l3   the agreed-upon pricing as conveyed by Samsung SDI, LG Electronics and Thai CRT' Other
14
     times, Hitachi and Toshiba attended the glass meetings. In this way, Hitachi, Toshiba and Samtel
15
     participated in the conspiracy to hx prices of CRTs.
t6                        3.     Defendan ts' and Co-C        nirators                 inG          and
                                 Bilateral Discussions
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t8                        142. When Plaintiff refers to a corporate family or companies by a single name
19   in alleging participation in the conspiracy, Plaintiff is alleging that one or more employees or

20   agents of entities within the corporate family engaged in conspiratorial meetings or

21   communications on behalf of every company in that corporate family. The individual participants

22   in the conspiratorial meetings and communications often did not know the corporate affiliation of

z)   their counterparts, nor did they distinguish between the entities within a corporate family. The

24   individuals who participated in conspiratorial meetings and communications entered into

25   agreements on behalf of, and reported these meetings and discussions to, their respective

26   corporate families. As a result, the entire corporate family was represented. For the Defendants

27   and co-conspirators identified in the following paragraphs, in many instances their high-ranking

28   executives participated in the conspiratorial meetings and communications'

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                                        Thomson's Admitted Participation in the CRT Conspiracy
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                             143. Thomson has admitted that it participated in the CRT price-fixing
J

         conspiracy. In its 2011 Annual Report (released in late March 2012), Thomson told its
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         shareholders and the public:
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                     On January g,2008, Thomson/Technicolor received a request under art 18 (2)
6                    of Councii Regulation nll2003 from the European Commission (the "EC") also
                     relating to thð CRT industry. Thomson/Technicolor received three further
7
                     ,.qu.rt, for information from the EC on January 16,2009, January 19,2009,
8
                     unà September 15, 2009 respectively. on November 25,2009,
                     ThomsorVTechnicolor received a Statement of Objections ("SO") from the
9                    European Commission. On March 3, 2010, Thomson/Technicolor hled its
                     writtãn response to the "SO." On May 26 and27,2070, ThomsorVTechnicolor
10                   attended an Oral Hearing together with the other parties and the European
                     Commission. Thomson/Technícolor stated thøt it pløyed a mínor role in the
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                     ølle ge d antic o mp etítív e c o n d uct,
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         Technicolor Annual Report 2011, at226 (emphasis added). While the Circuit City Trust disputes
    l3
         that Thomson,s role in the CRT price-fixing conspiracy was minor and believes the evidence
    l4
                                                                                             Thomson by íts
         adduced to date demonstrates it was substantial, what cannot be contested is that
    l5
         own admissíon was one of the conspirators.
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    t7
                             144. In Decemb er 2012, following an investigation of more than four years, the
         EC released its finding on the CRT price-fixing conspiracy. It found that seven companies,
    18

         including Thomson, participated in cartels lasting "almost ten years, between 1996 and 2006," to
    19

         fix the prices of CRTs. The EC concluded that "these companies fixed prices, shared markets,
    20

         allocated customers between themselves and restricted their output." The EC official
                                                                                                 responsible
    21

         for competition policy described the CRT cartels as "textbook cartels fthat] feature all the worst
    22

         kinds of anticompetitive behavior." Fines totaling €I,470,515,000 were assessed against the
    23

         members of the CRT cartels, including a fine of €38,631,000 against Thomson, an amount which
    24

         was reduced due to Thomson's cooperation with the EC investigation. The EC investigation
    25

         found that the CRT cartels "operated worldwide" and were "among the most organized cartels
    26

         that the Commission has investigated."
    27

    28                       145. After the EC announced its finding that Thomson participated in the CRT
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         price-fixing conspiracy and after Thomson paid the fine imposed by the EC, Thomson again
2
         acknowledged its participation in the conspiracy. In its 2012 Annual Report (released in late
J

         March 2013), Thomson informed its shareholders and the public that "[f]ollowing the European
4
         Commission decision, purchasers may bring individual claims against the Company seeking
5

         compensation for alleged loss suffered as a result of the anti-competitive conduct." Technicolor
6
         Annual Report 2072, aI2l6.
7


8
                            146, Between at least 1995 and 2005, Thomson participated in and/or was a
9        party to over 15 bilateral meetings and over 25 group meetings, including "green meetings" in the

10       United States, with the Defendants and co-conspirators in which unlawful agreements as to, inter

l1       alia, price, output restrictions , andlor customer and market allocation of CRTs occurred. These

t2       meetings attended by Thomson occuned in the United States, Europe, Japan, and China, and were

13       also attended by representatives from Samsung SDI, MTPD, LPD, Philips, Toshiba, and

14       Chunghwa, among other co-conspirators. The purpose of these meetings, and other

l5       communications, between Thomson and the co-conspirators was to raise and stabilize the prices

t6       and set supply levels of CRTs sold by Thomson and its competitors in North America, including

    17   the United States. Documents reflect that these meetings among competitors did not occur in the

    18   context of a customer-supplier relationship. Thomson also discussed with competitors CRT

    l9   prices, production, revenues, volumes, demand, inventories, estimated sales, plant shutdowns,

20       customer allocation, and new product development, including for North American CRTs. A

21       substantial number of these meetings were attended by high level sales, operations, and sourcing

22       managers from Thomson Consumer and/or Thomson SA. In addition to in-person meetings,

23       Thomson also communicated with its competitors over the telephone and by email. On

    24   information and belief, Plaintiff anticipates additional evidence of Thomson's conspiratorial

    25   meetings andlor communications with the Defendants and co-conspirators will be revealed

    26   through discovery of Thomson. As examples of Thomson's active participation in a conspiracy to

    27   f,rx CRT prices during the Relevant Period:

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     Thomson SA participated in the conspiracy it its own right and through its wholly owned
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     subsidiary, Thomson Consumer, through at least 2005, and participated thereafter through
3

     Videocon, in which it retained a I3.lo/o ownership stake after selling its CRT business to
4
     Videocon in 2005. Thomson SA maintained at least a 10olo ownership interest in Videocon
5

     throughout the conspiracy period. Thomson SA never effectively withdrew from this conspiracy.
6


7                          I47. Thomson Consumer directly participated in the conspiracy in the United
8    States, which was Thomson's largest market for CRTs. Between at least i995 and 2005,

9    Thomson Consumer knowingly participated in and/or was a party to bilateral and group meetings,

10   including "green meetings" in the United States, in which unlawful agreements as to, inter alia,

11   price, output restrictions, andlor customer and market allocation of U.S'-market CRTs occurred'

12   As examples of Thomson Consumer's active participation in a conspiracy to fix CRT prices

13   during the Relevant Period:

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                     148.




                     14g. Thomson Consumer knowingly participated in the conspiracy both in its
own right and through its parent company Thomson SA, through at least 2005, and participated

thereafter through Videocon, in which Thomson SA maintained at least a 10% ownership interest

throughout the conspiracy period. Thomson Consumer never effectively withdrew from this

conspiracy.

                            b.    Videocon's Participation in the CRT Conspiracy

                     150. Upon information and belief, between 2005 and 2007 , Videocon
participated in several glass meetings and multiple bilateral meetings with its competitors,

continuing the practice established by Thomson. These meetings were attended by high level

sales and marketing managers and executives from Videocon, including one Thomson employee

who sat on Videocon's Board of Directors, and employees who had previously attended meetings

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     on behalf of Thomson. At these meetings, Videocon discussed such things as CRT prices,
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     production, revenues, volumes, demand, inventories, estimated sales, plant shutdowns, customer
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     allocation, and new product development, and agreed on prices and supply levels for CRT
4
     Products. These meetings included discussions in which Videocon shared information with
5

     competitors regarding the U,S. market for CRTs. Documents reflect that these meetings among
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     competttors    did not occur in the context of a customer-supplier relationship.
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                                Videocon never effectively withdrew from this conspiracy
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14                              c.     TDA's Participation in the CRT Conspiracy

t5                        151. TDA was responsible for the sales and marketing of CRT Products in
t6   North America on behalf of its parent company, Videocon. Upon information and belief,
17   Videocon dominated and/or controlled the finances, policies andlor affairs of TDA and directed
l8   its pricing of CRT Products sold to the North America market.
t9

20                                                                                             Upon

2l   information and belief, between 2005 and 2007, TDA (originally known as Thomson Displays
22   Americas), and its wholly owned Mexican subsidiary and co-conspirator Technologies Displays
23   Mexicana, knowingly participated in conspiracy meetings and/or were parties to the agreements
24   entered at them, individually and through their parent company Videocon. The prices established

25   by TDA were, thus, the product of conspiratorial communications between Videocon and TDA
26   and their co-conspirators.

27
                          152. To the extent Thomson Consumer, TDA, and its Mexican subsidiary and
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         co-conspirator Technologies Displays Mexicana, distributed CRTs to direct purchasers, they
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         played a significant role in the conspiracy because Defendants wished to ensure that the prices for
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         such products paid by direct purchasers would not undercut the pricing agreements reached at
4
         these various meetings. Thus, Thomson Consumer, TDA, and Technologies Displays Mexicana
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         were at those meetings and/or were parties to the agreements and were active, knowing
6

         participants in this consPiracY.
7


8
                                   d.    Mitsubishi's Participation in the CRT Conspiracy

9                            153. Between at least 1995 and 2005, Defendant Mitsubishi participated in
t0       multiple bilateral and group meetings with its competitors, including but not limited to, co-
11
         conspirators Samsung SDI, Toshiba, Chunghwa, and Hitachi. These meetings were attended
                                                                                                         by

12       high level sales managers and other senior executives from Mitsubishi. At these meetings,
13       Mitsubishi discussed such things as CRT prices, production, future production' revenues,
                                                                                                        new
t4       volumes, demand, inventories, estimated sales, plant shutdowns, customer allocation, and
l5       product development, and agreed on prices, customer allocations, and supply levels for CRTs. In
t6       addition to in-person meetings, Mitsubishi also communicated with its competitors by telephone

         and email. Examples of Mitsubishi's active participation in the conspiracy to f,rx CRT
17                                                                                                    prices

    l8   during the Relevant Period include, but are not limited to:
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4        All of the above acts, as well as others, were in furtherance of the conspiracy.

5                                  e.     Co-conspirators' Participation in the CRT Conspiracy
6
                             I54, Between at least 1996 and 200I, co-conspirator Hitachi, through Hitachi,
7
         Ltd., Hitachi Displays, Hitachi Shenzhen and Hitachi Asia, participated in several glass meetings.
8
         These meetings were attended by high level sales managers from Hitachi. Hitachi also engaged
9
         in multiple bilateral discussions with other participants, particularly with Samsung. Through
l0
         these discussions, Hitachi agreed on prices and supply levels for CRTs. Hitachi never effectively
1l
         withdrew from this conspiracy.
12
                             155. Co-conspirators Hitachi America and HEDUS were represented at those
l3
         meetings and were a party to the agreements entered at them. To the extent Hitachi America and
14
         HEDUS sold and/or distributed CRT Products to direct purchasers, they played a significant role
15
         in the conspiracy because Defendants and their co-conspirators wished to ensure that the prices
t6
         for CRT Products paid by direct purchasers would not undercut the CRT pricing agreements
17
         reached at the glass meetings. Thus, Hitachi America and HEDUS were active, knowing
    l8
         participants in the alleged conspiracy.
    t9
                             156. Between at least 1998 and 2007, co-conspirator IRICO, through IGC, IGE
20
         and IDDC, participated in multiple glass meetings. These meetings were attended by the highest
21
         ranking executives from IRICO. IRICO also engaged in multiple bilateral discussions with other
22
         participants, particularly with other Chinese manufacturers. Through these discussions, IRICO
23
          agreed on prices and supply levels for CRTs. None of IRICO's conspiratorial conduct in
24
          connection with CRTs was mandated by the Chinese government. IRICO was acting to further its
25
          own independent private interests in participating in the alleged conspiracy.
    26
                             157. Between at least 1995 and 2001, co-conspirator LG Electronics, through
    27
          LGEI and LGETT, participated in at least 100 glass meetings at all levels. After 2001, LG
    28

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Electronics participated in the CRT conspiracy through its joint venture with Philips, LGPD

(nlWa LP Displays). A substantial number of these meetings were attended by the highest

ranking executives from LG Electronics. LG Electronics also engaged in bilateral discussions

with other participants on a regular basis. Through these discussions, LG agreed on prices and

supply levels for CRTs. LG Electronics never effectively withdrew from this conspiracy.

                    158. Co-conspirator LGEUSA was represented at those meetings and was a
party to the agreements entered at them. To the extent LGEUSA sold and/or distributed CRT
products, it played a significant role in the conspiracy because Defendants and their co-

conspirators wished to ensure that the prices for CRT Products paid by direct purchasers would

not undercut the CRT pricing agreements reached at the glass meetings. Thus, LGEUSA was an

active, knowing participant in the alleged conspiracy.

                    159. Between at least 2001 and 2006, co-conspirator LP Displays (f/k/a LGPD)
participated in at least 100 glass meetings at all levels. A substantial number of these meetings

were attended by the highest ranking executives from LP Displays. Certain of these high
                                                                                                 level

executives from Lp Displays had previously attended meetings on behalf of LG Electronics
                                                                                                  and

philips, LP Displays also engaged in bilateral discussions with other participants. Through these

discussions, LP Displays agreed on prices and supply levels for cRTs.

                    160. Between at least 1996 and 2003, co-conspirator Panasonic, through
panasonic Corporation and Matsushita Malaysia, participated in several glass meetings. After

 2003, panasonic participated in the CRT conspiracy through MTPD, its
                                                                                   joint venture with

Toshiba. These meetings were attended by high level sales managers from Panasonic and MTPD.
panasonic also engaged in multiple bilateral discussions with other participants. Through these

 discussions, panasonic agreed on prices and supply levels for CRTs. Panasonic never effectively

withdrew from this consPiracY.

                    161   .   PCNA was represented at those meetings and was a party to the agreements

 entered at them. To the extent PCNA sold and/or distributed CRT Products to direct
                                                                                           purchasers,

 it played a significant role in the conspiracy because Defendants and their co-conspirators wished

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     to ensure that the prices for CRT Products paid by direct purchasers would not undercut the CRT
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     pricing agreements reached at the glass meetings. Thus, PCNA was an active, knowing
J

     participant in the alleged conspiracy.
4
                        162. Between at least 2003 and 2006, co-conspirator MTPD participated in
5

     multiple glass meetings and in fact led many of these meetings during the latter years of the
6

     conspiracy. These meetings were attended by high level sales managers from MTPD. MTPD
7

     also engaged in bilateral discussions with other participants. Through these discussions, MTPD
8

     agreed on prices and supply levels for CRTs.
9

                        163. Between at least 1998 and 2007, co-conspirator BMCC participated in
10

     multiple glass meetings. These meetings were attended by high level sales managers from
ll
     BMCC. BMCC also engaged in multiple bilateral discussions with other participants, particularly
12

     the other Chinese CRT manufacturers. Through these discussions, BMCC agreed on prices and
l3
     supply levels for CRTs. None of BMCC's conspiratorial conduct in connection with CRTs was
14

     mandated by the Chinese government. BMCC was acting to further its own independent private
15

     interests in participating in the alleged conspiracy.
16
                        164. Between at least 1996 and 2001, co-conspirator Philips, through Royal
17

     Philips and Philips Taiwan, participated in at least 100 glass meetings at all levels. After 2001,
18

     Philips participated in the CRT conspiracy through its joint venture with LG Electronics, LGPD
t9
     (nlkla LP Displays). A substantial number of these meetings were attended by high level
20
     executives from Philips. Philips also engaged in numerous bilateral discussions with other
2l
     participants. Through these discussions, Philips agreed on prices and supply levels for CRTs.
22
     Philips never effectively withdrew from this conspiracy.
z3
                        165. Co-conspirators Philips America and Philips BraziI were represented at
24
     those meetings and were a party to the agreements entered at them. To the extent Philips America
25
     and Philips Brazil sold and/or distributed CRT Products to direct purchasers, they played a
26
     signihcant role in the conspiracy because Defendants and their co-conspirators wished to ensure
27
     that the prices for CRT Products paid by direct purchasers would not undercut the CRT pricing
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     agreements reached at the glass meetings. Thus, Philips America and Philips Brazil were active,
2

     knowing participants in the alleged conspiracy.
3

                          166. Between at least 1995 and 2001, co-conspirator Samsung SDI, through
4
     Samsung SDI, Samsung SDI Malaysia, Samsung SDI Shenzhen and Samsung SDI Tianjin,
5

     participated in at least 200 glass meetings at all levels. A substantial number of these meetings
6

     were attended by the highest ranking executives from Samsung SDL Samsung SDI also engaged
7

     in bilateral discussions with each of the other participants on a regular basis. Through these
8

     discussions, Samsung SDI agreed on prices and supply levels for CRTs.
9
                          167, Co-conspirators Samsung SDI America, Samsung SDI Brazil and Samsung
l0
     SDI Mexico were represented at those meetings and were a party to the agreements entered at
11

     them. To the extent these companies sold andlor distributed CRT Products, they played a
12

     significant role in the conspiracy because Defendants and their co-conspirators wished to ensure
13

     that the prices for CRT Products paid by direct purchasers would not undercut the CRT pricing
14

     agreements reached at the glass meetings. Thus, Samsung SDI America, Samsung SDI Brazil and
l5
     Samsung SDI Mexico were active, knowing participants in the alleged conspiracy'
16
                          168. Between at least 1998 and 2006, co-conspirator Samtel parlicipated in
17

     multiple bilateral discussions with other participants. These meetings were attended by high level
18

     executives from Samtel. Through these discussions, Samtel agreed on prices and supply levels
t9
     for CRTs. Samtel never effectively withdrew from this conspiracy.
20
                          169. Between at least 1997 and2006, co-conspirator Thai CRT participated in
21

      multiple glass meetings. These meetings were attended by the highest ranking executives from
22
      Thai CRT. Thai CRT also engaged in multiple bilateral discussions with other parlicipants'
23
      Through these discussions, Thai CRT agreed on prices and supply levels for CRTs' Thai CRT
24
      never effectively withdrew from this conspiracy.
25
                          I7O. Between at least 1995 and 2003, co-conspirator Toshiba, through TC,
26
      TDDT and TEDI, participated in several glass meetings. After 2003, Toshiba participated in the
27
      CRT conspiracy through MTPD, its joint venture with Panasonic. These meetings were attended
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     by high level sales managers from Toshiba and MTPD. Toshiba also engaged in multiple
2

     bilateral discussions with other participants. Through these discussions, Toshiba agreed on prices
J

     and supply levels for CRTs. Toshiba never effectively withdrew from this conspiracy.
4
                         lTL   Co-conspirators Toshiba America, TACP, TAEC and TAIS were
5

     represented at those meetings and were a party to the agreements entered at them. To the extent
6
     Toshiba America, TACP, TAEC and TAIS sold and/or distributed CRT Products to direct
7
     purchasers, they played a significant role in the conspiracy because Defendants and their co-
8

     conspirators wished to ensure that the prices for CRT Products paid by direct purchasers would
9

     not undercut the CRT pricing agreements reached at the glass meetings. Thus, Toshiba America,
l0
     TACP, TAEC and TAIS were active, knowing participants in the alleged conspiracy.
1l
                         172, Between at least 1995 and 2006, co-conspirator Chunghwa, through
12

     Chunghwa PT, Chunghwa Malaysia, and representatives from their factories in Fuzhuo (China)
l3
     and Scotland, participated in at least 100 glass meetings at all levels. A substantial number of
14

     these meetings were attended by the highest ranking executives from Chunghwa, including the
l5
     former Chairman and CEO of Chunghwa PT, C.Y. Lin. Chunghwa also engaged in bilateral
l6
     discussions with other participants on a regular basis. Through these discussions, Chunghwa
l7
     agreed on prices and supply levels for CRTs.
18

                         173. Between at least 1995 and 2004, co-conspirator Daewoo, through Daewoo
19

     Electronics, Orion and DOSA, participated in at least 100 glass meetings at all levels. A
20
      substantial number of these meetings were attended by the highest ranking executives from
21

      Daewoo, Daewoo also engaged in bilateral discussions with other participants. Through these
22
      discussions, Daewoo agreed on prices and supply levels for CRTs. Bilateral discussions
23
      involving Daewoo continued until Orion, its wholly-owned CRT subsidiary, filed for bankruptcy
24
      in2004, Daewoo nevef effectively withdrew from this conspiracy.
25

26            E.         The CRT Market Durins the Conspiracv

27                       174. Until the last few years of the CRT conspiracy, CRTs were the dominant
28    technology used in displays, including televisions and computer monitors. During the Relevant
                                                      58
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     Period, this translated into the sale of millions of CRT Products, generating billions of dollars in
2
     annual profits.
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                          175. The following data was reported by Stanford Resources, Inc., a market
4
     research firm focused on the global electronic display industry:
5

          Year                 Units Sold                  Revenue                Average Selling
6                              (millions)                  (billion US dollars)   Price Per Unit
           1998                90.5                        $18.9                  $208
7
           1999                106.3                       $ 19.2                 $181
8          2000                1 19.0                      $2 8.02                $23 s

9
                          176. During the Relevant Period, North America was the largest market for CRT
10
     TVs and computer monitors. According to a report published by Fuji Chimera Research, the
ll   1995 worldwide market for CRT monitors was 57.8 million units, 28 million of which (48'5
12
     percent) were consumed in North America. By 2002, North America still consumed around 35
l3   percent of the world's CRT monitor supply.
14
                          177. Defendants' and co-conspirators' collusion is evidenced by unusual price
l5
     movements in the CRT Product market during the Relevant Period. In the 1990s, industry
16
     analysts repeatedly predicted declines in consumer prices for CRT Products that did not fully
17
      materialize. For example, in 1992, an analyst for Market Intelligent Research Corporation
l8
     predicted that "fe]conomies of scale, in conjunction with technological improvements and
19
     advances in manufacturing techniques, will produce a drop in the price of the average electronic
20
     display to about $50 in 1997,' Information Display 9192p.19. Despite such predictions, and the
21
     existence of economic conditions warranting a drop in prices, CRT Product prices nonetheless
22
     remained stable.
23
                          178. In 1996, another industry source noted that "the price of the 14" tube is at a
24
     sustainable USD50 and has been for some years . . . ."
25
                          179, In early 1999, despite declining production costs and the rapid entry of flat
26
     panel display products, the price of large sized color CRTs actually rose. The price increase was
21

28
     2
               Estimated market value of CRT units sold,
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I
     allegedly based on increasing global demand. In fact, this price increase was a result of the
2
     collusive conduct as herein alleged.
J

                        180. After experiencing oversupply of 17" CRTs in the second half of 1999,the
4
     average selling price of CRTs rose again in early 2000, A March 13,2000 article in Inþtech
5

     I4teekly quoted an industry analyst as saying that this price increase was "unlike most other PC-
6

     related products."
7

                        181. A BNET Business Network news article from August 1998 reported that
8

     "key components (cathode ray tubes) in computer monitors have risen in price. 'Although several
9
     manufacturers raised their CRT prices in the beginning of August, additional CRT price increases
10

     are expected for the beginning of October . . . . While computer monitor price increases may be a
ll
     necessary course of action, we fCyberVision, a computer monitor manufacturer] do not foresee a
12

     drop in demand if we have to raise our prices relative to CRT price increases."'
l3
                        182, A 2004 article from Techtree.com reports that various computer monitor
14

     manufacturers, including LG Electronics, Philips and Samsung, were raising the price of their
t5
     monitors in response to increases in CRT prices caused by an alleged shortage of glass shells used
16
                                                                      *It is expected that by the end of
     to manufacture the tubes. Philips is quoted as saying that,
17

     September this year 120041there will be [a] 2}%hike in the price of our CRT monitors."
l8
                        183. Defendants and co-conspirators also conspired to limit production of CRTs
19

     by shutting down production lines for days at a time, and closing or consolidating their
20
     manufacturing facilities.
21
                        184. For example, CRT factory utilization percentage fell from 90Yo in the third
22
     quarter of 2000 to 620/o in the first quarter of 2001. This is the most dramatic example of a drop
23
     in factory utilization. There were sudden drops throughout the Relevant Period but to a lesser
24
     degree. Plaintiff is informed and believes that these sudden, coordinated drops in factory
25
     utilization by Defendants and co-conspirators were the result of agreements to decrease output in
26
     order to stabilize the prices of CRTs.
27
                        185. During the latter part of the Relevant Period, while demand in the United
28

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I
         States for CRT Products declined, the conspiracy was effective in moderating the normal
2

         downward pressures on prices for CRT Products caused by the entry and popularity of the new
J

         generation LCD panels and plasma display products. As Finsen Yu, President of Skyworth
4
         Macao Commercial Offshore Co., Ltd., a television maker, was quoted in January of 2007: "[t]he
5

         CRT technology is very mature; prices and technology have become stable'"
6
                             186. During the Relevant Period, there were not only periods of unnatural and
7

         sustained price stability, but there were also increases in prices of CRTs and CRT Products.
8

         These price increases were despite the declining demand due to the approaching obsolescence of
9

         CRT products caused by the emergence of a new, potentially superior and clearly more popular,
l0
         substitutable technology.
l1
                             187. These price increases and price stability in the market for CRT Products
12

         during the Relevant period are inconsistent with a competitive market for a product facing rapidly
13

         decreasing demand caused by a new, substitutable technology.
14


15
                 F.

    16                       188. Defendants' and co-conspirators' conspiracy to ftx, raise, maintain and
    t7   stabilize the prices of, and restrict output for, CRTs sold in the United States during the Relevant
    18   period, has been and the subject of a multinational investigation commenced by the Antitrust
    19
         Division of the United States DOJ.
20
                             189. Separately, the European Commission and Japan and South Korea's Fair
21
         Trade Commissions also opened investigations into illegal price-f,rxing of CRTs that were being
    22
         sold in Europe and Asia.
    23
                             190. In its 2008 Annual Report, co-conspirator Toshiba reports that "[t]he
          Group is also being investigated by the fEuropean] Commission and/or the U.S. Department of
    24

    25
         Justice for potential violations of competition laws with respect to semiconductors, LCD
    26
         products, cathode ray tubes (CRT) and heavy electrical equipment."
    27
                             l9l. On May 6, 2008, the Hungarian Competition Authority ("HCA")
          announced its own investigation into the CRT cartel. The HCA described the cartel as follows:
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2                             The Hungarian Competition Authority (Gazdasâgi Versenyhivatal -
                              GVH) initiated a competition supervision proceeding against the
J
                              following undertakings: Samsung SDI Co., Ltd., Samsung SDI
4
                              Germany GmbH, Samsung SDI Magyarország Zrt., Thomson TDP
                              sp. Z.o.o., LG Philips Displays Czech Republic s.r.o.., LP Displays,
5                             Chunghwa Pictures Tubes (UK) Ltd, Chunghwa Pictures Tubes
                              Ltd, Daewoo Orion S.4., Daewoo Electronics Global HQ, Daewoo
6                             Electronics European HQ, MT Picture Display Germany GmbH,
                              Matsushita Global HQ, Matsushita European HQ.
7


8
                              Based on the data available the undertakings mentioned above
9                             concerted their practice regarding the manufacturing and
                              distribution of cathode-ray tubes (including coloured pictures tubes
10                            and coloured screen tubes) on the European market between 1995
                              and 2007 . The anti-competitive behaviour may have concerned the
ll                            exchange of sensitive market information (about prices, volumes
t2
                              sold, demand and the extent to which capacities were exploited),
                              price-fixing, the allocation of market shares, consumers and
13                            volumes to be sold, the limitation of output and coordination
                              concerning the production. The undertakings evolved a structural
t4                            system and functional mechanism of cooperation'

15

                              According to the available evidences it is presumable that the
16
                              coordination of European and Asian undertakings regarding to the
17                            European market also included Hungary from 1995 to 2007. The
                              coordination concerning the Hungarian market allegedly formed
18                            part of the European coordination. Samsung SDI Magyarorszâ9.
                              was called into the proceeding since it manufactured and sold
t9                            cathode-ray tubes in Hungary in the examined period, and it
20
                              allegedly participated in the coordination between its parent
                              companies.
2l
                        I92. On February 10, 2009, the DOJ issued a press release announcing thaf a
22
     federal grand jury in San Francisco had that same day returned a two-count indictment against the
23
     former Chairman and Chief Executive Offlrcer of Chunghwa, Cheng Yuan Lin alkla C.Y. Lin, for
24
     his participation in global conspiracies to fix the prices of two types of CRTs used in computer
25
     monitors and televisions. The press release notes that "[t]his is the first charge as a result of the
26
     Antitrust Division's ongoing investigation into the cathode ray tubes industry." The press release
27
     further notes that Lin had previously been indicted for his participation in a conspiracy to hx the
28

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         prices of TFT-LCDs. Mr. Lin's indictment states that the combination and conspiracy to fix the
2
         prices of CRTs was carried out, in part, in California.
3

                             Ig3. On August 19,2009, the DOJ issued a press release announcing that a
4
         federal grand jury in San Francisco had the previous night returned a one-count indictment
5

         against Wu Jen Cheng alVa Tony Cheng for his participation in a global conspiracy to fix the
6

         prices of CDTs, the type of CRT used in computer monitors. Tony Cheng formerly \,vas an
7

         assistant Vice-President of Sales and Marketing at Chunghwa. The press release notes that Cheng
8

         previously had been indicted for his participation in a conspiracy to fix the prices of TFT-LCDs.
9

         Mr. Cheng's indictment states that the combination and conspiracy to fix the prices of CRTs was
10

         carried out, in part, in California.
11

                             Ig4. On March 30, 2010, the DOJ issued a press release announcing that a
12

         federal grand jury in San Francisco had that same day retumed a one-count indictment against
l3
         Chung Cheng Yeh al|a Alex Yeh for his participation in a global conspiracy to fix the prices of
t4
         CDTs, the type of CRT used in computer monitors. The press release identifies Yeh as a "former
15

         director of sales" at "a large-Taiwan based color display tube (CDT) manufacturer." The
16

         indictment states that the combination and conspiracy to fix the prices of CRTs was carried out, in
t'7
         part, in Califomia.
l8
                             195. On November 9, 2010, the DOJ issued a press release announcing that a
t9
         federal grand jury in San Francisco had that same day returned a one-count indictment against
20
          Seung-Kyu Lee alkla Simon Lee, Yeong-Ug Yang alkla Albert Yang, and Jae-Sik Kim a/k/a J.S'
21

          Kim for their participation in a global conspiracy to fix the prices of CDTs, the type of CRT used
22
          in computer monitors. The press release identifies Lee, Yang, and Kim as "former executives
¿5

          from two color display tube (CDT) manufacturing companies." The indictment states that the
24
          combination and conspiracy to fix the prices of CRTs was carried out, in part, in California.
25
                             196. On March 18, 2011, the DOJ issued a press release announcing that it had
26
          reached an agreement with co-conspirator Samsung SDI in which it would plead guilty and pay a
    27
          $32 million fine for its role in a conspiracy to fix prices of cDTs.
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                             197. Samsung SDI admitted that from at least as early as January 1997 until at
2

         least as late as March 2006, it participated in a conspiracy among major CDT producers to fix
3

         prices, reduce output, and allocate market shares of CDTs sold in the United States and
4
         elsewhere. Samsung SDI admitted that in fuitherance of the conspiracy it, through its offrcers and
5

         employees, engaged in discussions and attended meetings with representatives of other major
6

         CDT producers. During these discussions and meetings, agreements were reached to fix prices,
7

         reduce output, and allocate market shares of CDTs to be sold in the United States and elsewhere.
8

         Samsung SDI further admitted that acts in furtherance of the conspiracy v/ere carried out in
9
         California.
10
                             198. The plea agreement of Samsung SDI requires that it cooperate with the
l1
         DOJ's ongoing investigation of federal antitrust and related criminal laws involving the
12

         manufacture or sale of CDTs and CPTs.
13

                             lgg. As described above, in December 2012 the European Commission
14

         announced that it fined seven companies for participating in cartels to fix the prices of
                                                                                                      CRTs
    15

         lasting almost ten years: Thomson, Samsung SDI, Philips, LG Electronics, Toshiba, Panasonic,
    16

          and MTpD. The EC concluded that "the cartelists carried out the most harmful anti-competitive
    t7
         practices including price fixing, market sharing, customer allocation, capacity and output
    l8
          coordination and exchanges of commercial sensitive information."
    t9
                  G.         Effects     the CRT
    20
                             1.        Examples of Reductions in Manufacturing capacity
    2l
                             200. During the Relevant Period, the conspirators conspired to limit production
    22
          of CRTs by shutting down production lines for days at a time and closing or consolidating
    23
          manufacturing facilities.
    24
                             201. In December of 2004, MTPD closed its American subsidiary's operations
    25
          in Horseheads, New york, citing price and market erosion. Panasonic announced that the closing
    26
          was part of the company's "global restructuring initiatives in the CRT business." The company
    27

    28

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fuither stated that in the future, "CRTs for the North American market will be supplied by other

manufacturing locations in order to establish an optimum CRT manufacturing structure."

                    202. In July of 2005, LGPD ceased CRT production at its Durham, England
facility, citing a shift in demand from Europe to Asia.

                    203. In December of 2005, MTPD announced that it would close its American
subsidiary's operations in Ohio, as well as operations in Germany, by eatly 2006. Like LG

Philips, the company explained that it was shifting its CRT operations to Asian and Chinese

markets.

                    204, In late 2005, Samsung SDI followed the lead of other manufacturers,
closing its CRT factory in Germany.

            205. In July of 2006, Orion shut down a CRT manufacturing plant in Princeton,
Indiana. The same month, Panasonic announced it was shutting down its CRT factory in
Malaysia and liquidating its joint venture with Toshiba.

                    2,    Examples'of Collusive Pricins for CRTs

                    206. Defendants' collusion is evidenced by unusual price movements in the
CRT market. In the 1990s, industry analysts repeatedly predicted declines in consumer prices for

CRTs that did not fully materialize. For example, in 1992, an analyst for Market Intelligent

Research Corporation predicted that "fe]conomies of scale, in conjunction with technological

 improvements and advances in manufacturing techniques, will produce a drop in the price of the

 average electronic display to about $50 in lgg7.' Despite such predictions, and the existence of

 economic conditions warranting a drop in prices, CRT prices nonetheless remained stable.

                    207. In1996, another industry source noted that "the price of the 14" tube is at a
 sustainable USD50 and has been for some years . . . ."

                    208, In reality, prices for CRTs never approached $50 in 1997, and werc
 consistently more than double this price.

                    209. Despite the ever-increasing popularity of, and intensifying competition
 from, flat panel monitors, prices for CRT monitors were "stuck stubbornly at high price levels"

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throughout 1995 according to a CNET News.com article. This price stabilization was purportedly

due exclusively to a shortage of critical components such as glass. This was a pretext used to

conceal the conspiracy.

                    210. Prices for CRT monitors did fall sharply as a result of the Asian economic
crisis of 1998, which severely devalued Asian currencies. This prompted the keynote speaker at

Asia Display 1998, an annual conference for the display industry, to state:

        We believe that now is the time to revise our strategic plan in order to survive in

        his tough environment and also to prepare for the coming years. This means that

        we have to deviate from the traditional approach of the simple scale up of
        production volume.

                    2ll.   In early 1999, despite declining production costs and the rapid entry of flat

panel display products, the price of large-sized color CRTs actually rose. The price increase was

allegedly based on increasing global demand for the products. In fact, this price rise was the

result of collusive conduct amongst Defendants.

                    212. After experiencing an oversupply of 17" CRTs in the second half of 1999,
the average selling price of CRTs rose again in early 2000. A March 13, 2000 article quoted an

 industry analyst as saying that this price increase was "unlike most other PC-related products."

                    213. On June I,2004, LG Electronics raised the prices of its 15" and 17" CRT
 monitors in India. This price hike was falsely attributed exclusively to a shortage of glass needed

 to manufacture CRTs.

                    214. Over the course of the Relevant Period, the price of CRTs remained stable,
 and in some instances went up in an unexplained manner, despite the natural trend in most

 technology products to go down over time. CRT technology was mature, and the costs of

 production were relatively low compared to other emerging technologies. As Finsen Yu,

 President of Skyworth Macao Commercial Off Shore Co., Ltd, a television maker, was quoted as

 saying in January of 2007, "[t]he CRT technology is very mature; prices and technology have

 become stable."

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                    215. CRT prices resisted downward price pressures and remained stable over a
period of many years. Even in periods of decreasing prices caused by outside factors, such as the

Asian curïency crisis, the prices of CRT Products did not decline as much as they would have

absent the conspiracy. The stability of the price of CRTs was accomplished by the collusive

activities alleged above.

                    3.    Summary Of Effects Of The Conspiracv Involvins CRTs

                    216. The above combination and conspiracy has had the following effects,
among others:
                           a. Price competition in the sale of CRTs by Defendants and their co-
                              conspirators has been restrained, suppressed and eliminated throughout
                              the United States;

                           b. Prices for CRTs in CRT Products sold by Defendants to Circuit City
                              directly and indirectly have been raised, fixed, maintained and
                              stabilized at artificially high and noncompetitive levels throughout the
                              United States; and

                           c. Circuit City was deprived of the benefit of free and open competition
                               in the purchase of CRT Products.

                           d. As a direct and proximate result of the unlawful conduct of
                               Defendants, Circuit City was injured in its business and property in
                               that they paid more for CRT Products than it otherwise would have
                               paid in the absence of the unlawful conduct of Defendants.


VII. PLAINTIFF'SINJURIES
          217 . As a purchaser of computer monitors, TVs and other devices that contained

CRTs, Circuit City suffered a direct, substantial and reasonably foreseeable injury as a result of

Defendants' conspiracy to raise, fix, stabilize or maintain the price of CRTs at supra-competitive

levels. Defendants' conspiracy artificially inflated the price of CRTs causing Circuit City to pay

higher prices than they would have in the absence of Defendants' conspiracy.

                    218. Circuit City also purchased CRT Products containing CRTs from OEMs as
well as others, which in turn purchased CRTs from Defendants and their co-conspirators.
 Defendants' conspiracy affected and artihcially inflated the price of CRTs purchased by these


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I
     OEMs and others, which paid higher prices for CRTs than they would have absent the conspiracy.
2
     The conspiracy artificially inflated the prices of CRTs included in CRT Products.
3

                        2I9. The OEMs and others passed on to their customers, including Circuit City,
4
     the overcharges caused by Defendants' conspiracy. Thus, Circuit City suffered injury when it
5

     purchased CRT Products containing such price-fixed CRTs from the OEMs and others.
6
                        220. Once a CRT leaves its place of manufacture, it remains essentially
7

     unchanged as it moves through the distribution system. CRTs are identifiable, discrete physical
8

     objects that do not change form or become an indistinguishable part of a CRT Product, Thus,
9

     CRTs follow a physical chain from Defendants through manufacturers of CRT Products sold to
l0
     Circuit City,
11

                        22I. The market for CRTs and the market for CRT Products are inextricably
12

     linked and cannot be considered separately. Defendants are well aware of this intimate
13

     relationship.
14

                        222. Throughout the Relevant Period, Defendants and their co-conspirators
l5
     controlled the market for CRTs. Consequently, during the Relevant Period, the OEMs had no
t6
     choice but to purchase CRTs from Defendants and others at prices that were artificially inflated,
t7
     fixed and stabilized by Defendants' conspiracy.
l8
                        223. As a result, Circuit City was injured in connection with its purchases of
t9
     CRT Products during the Relevant Period.
20
     VIII. FRAUDULENT CONCEALMENT
21

                        224. Neither Circuit City Trust nor Circuit City had actual or constructive
22
     knowledge of the facts supporting its claims for relief despite diligence in trying to discover the
23
     pertinent facts. Neither Circuit City Trust nor Circuit City discovered, and could not have
24
     discovered through the exercise of reasonable diligence, the existence of the conspiracy alleged
25
     herein. Defendants engaged in a secret conspiracy that did not give rise to facts that would put
26
     Circuit City Trust or Circuit City on inquiry notice that there was a conspiracy to fix the prices of
27
     CRTs.
28

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                        225. Because Defendants' agreement, understanding and conspiracy were kept
2
     secret, Circuit City Trust and Circuit City were unaware of Defendants' unlawful conduct alleged
J

     herein and did not know that it was paying artificially high prices for CRT Products.
4
                        226. The afflrrmative acts of Defendants alleged herein, including acts in
5

     furtherance of the conspiracy, were wrongfully concealed and carried out in a manner that
6
     precluded detection. As noted above, Defendants and their co-conspirators organized glass
7

     meetings to avoid detection, conducted bilateral meetings in secret and agreed at glass meetings
8

     to orchestrate the giving of pretextual reasons for their pricing actions and output restrictions.
9
     Defendants and their co-conspirators would coordinate and exchange in advance the texts of the
l0
     proposed communications with customers containing these pretextual statements and would
ll
     coordinate which co-conspirator would first communicate these pretextual statements to
12

     customers.
13

                        227. By its very nature, Defendants' price-fixing conspiracy was inherently self-
t4
     concealing
l5
                        228. Neither Circuit City nor Circuit City Trust could have discovered the
16

     alleged contract, conspiracy or combination at an earlier date by the exercise of reasonable
17

     diligence because of the deceptive practices and techniques of secrecy employed by Defendants
18

     and their co-conspirators to avoid detection of, and fraudulently conceal, their contract,
19

     conspiracy or combination. The contract, conspiracy or combination as herein alleged was
20
     fraudulently concealed by Defendants by various means and methods, including, but not limited
2l
     to, secret meetings, surreptitious communications between Defendants by the use of the telephone
22
     or in-person meetings in order to prevent the existence of written records, discussion on how to
z)
     evade antitrust laws and concealing the existence and nature of their competitor pricing
24
     discussions from non-conspirators (including customers).
25
                        229. Defendants and their co-conspirators agreed not to publicly discuss the
26
     existence or nature of the conspiracy or their agreements. Meetings related to CDTs and CPTs
27
     were held separately to avoid detection. Participants at glass meetings were also told not to take
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minutes, Attending companies also reduced the number of their respective attendees to maintain

secrecy. During these meetings, top executives and other officials attending these meetings were

instructed on more than once occasion not to disclose the fact of these meetings to outsiders, or

even to other employees of Defendants not involved in CRT pricing or production. In fact, the

top executives who attended conspiracy meetings agreed to stagger their arrivals and departures at

such meetings to avoid being seen in public with each other and with the express purpose and

effect ofkeeping them secret,




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6

                        232. Defendants also agreed at glass meetings and bilateral meetings to give
7

      pretextual reasons for price increases and output reductions to their customers.
8

                        233. As alleged above, in early 1999, despite declining production costs and the
9

      rapid entry of flat panel display products, the price of large-sized color CRTs actually rose. The
l0
      price increase was allegedly based on increasing global demand for the products. In fact, this
11

      price rise was the result of collusive conduct amongst Defendants, which was undisclosed at the
12

      time.
l3
                        234. As alleged above, despite increased competition from flat panel monitors,
14

     prices for CRT monitors were stuck stubbornly at high price levels throughout 2001. This price
15

      stabilization was purportedly due exclusively to a shortage of critical components such as glass.
16

      This was a pretext used to cover up the conspiracy.
17

                        235. In addition, when several CRT manufacturers, including Samsung, Philips
l8
      and LG Electronics, increased the price of CRTs in2004, the price hike was blamed on a shortage
19

     of glass shells use for manufacturing CRT monitors. In justifying this price increase, a Deputy
20
      General Manager for an LG Electronics distributor in India stated, "[t]his shortage fof glass
2l
     shells] is a global phenomena and every company has to increase the prices of CRT monitors in
22
     due course of time."
zt
                        236. Manufacturers such as LG Electronics periodically issued press statements
24
     falsely asserting that CRT prices were being driven lower by intense competition.
25
                        237. Plaintiff is informed and believes, and thereon alleges, that the purported
26
     reasons for the price increases of CRTs were materially false and misleading and made for the
27
     pu{pose of concealing the conspirators anti-competitive scheme as alleged herein.
28

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                        238. As a result of Defendants' and their co-conspirators' fraudulent
2
      concealment of their conspiracy, the running of any statute of limitations has been tolled with
J

      respect to any claims that Plaintiff has as a result of the anticompetitive conduct alleged in this
4
      complaint.
5


6
      IX.     TOLLING
7
                        239. As discussed at length in Paragraphs 9,192-98 above, the United States
8
      Department of Justice instituted criminal proceedings and investigations against several
9
      participants in the conspiracy commencing on at least February 10, 2009. Circuit City's claims
10
      were tolled during these criminal proceedings pursuant to 15 U.S.C. $ 16.
l1
                        240. Circuit City's claims were tolled under American Pipe & Construction Co.
t2
      v, Utqh, 4I4 U.S. 538 (1974), and related authorities recognizing cross-jurisdictional tolling
13
      during the pendency of the Direct Purchaser Class actions asserted against the participants in the
t4
      CRT price-fixing scheme and commenced on at least November 26, 2007. Circuit City was a
15
     member of the Direct Purchaser Class Actions, including, but not limited to, the following
16
     Complaints:
17
                           o Crago, Inc. v. Chunghwa Picture Tubes, Ltd., et a/., No. 3:07-cv-05944-SC
l8
                              (Dkt. No. 1) (N.D.Cal. Nov. 26,2007);
19
                           o Radio & TV Equipment, Inc, v. Chunghwa Picture Tubes, Ltd., No.2:08-
20
                              cv-00542-JAG, (D. N.J. Jan. 28,2008);
2t
                              Sound Investments Corp. v. Chunghwa Picture Tubes, Ltd., No.2:08-cv-
22
                              00543-JAG (D. N.J. Ian.28,2008);
23
                              Direct Purchaser Plaintiffs' Consolidated Amended Complaint, No. 3:07-
24
                              cv-05944-SC (Dkt. No. 436) (N.D. Cal. Mar. 16,2009).
25


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1



      X.      CLAIM FOR VIOLATIONS
2
                                               First Claim for Relief
5

                                   (Violation of Section I of the Sherman Act)
4
                         241, Plaintiff incorporates by reference all the above allegations as if fully set
5

      forth herein.
6

                         242. Beginning no later than March l, 1995, the exact date being unknown to
7

      Circuit City and Circuit City Trust and exclusively within the knowledge of Defendants,
8

      Defendants and their co-conspirators entered into a continuing contract, combination or
9
      conspiracy to unreasonably restrain trade and commerce in violation of Section 1 of the Sherman
10

      Act (15 U.S.C. $ 1) bV artificially reducing or eliminating competition in the United States.
1t
                         243. In particular, Defendants and their co-conspirators combined and conspired
t2
      to raise, fix, maintain, or stabilize the prices of CRTs sold in the United States.
l3
                         244. As a result of Defendants' unlawful conduct, prices for CRTs were raised,
l4
      fixed, maintained and stabilized in the United States.
l5
                         245, The contract, combination or conspiracy among Defendants consisted of a
16

      continuing agreement, understanding, and concerted action among Defendants and their co-
t7
      conspirators.
l8
                         246. For purposes of formulating and effectuating their contract, combination or
19

      conspiracy, Defendants and their co-conspirators did those things they contracted, combined, or
20
      conspired to do, including:
21

                                  a. participating in meetings and conversations to discuss the prices and
22
                                      supply of CRTs;

                                  b. communicating in writing and orally to fix target prices, floor prices
24
                                      and price ranges for CRTs;
25
                                  c. agreeing to manipulate prices and supply of CRTs sold in the United
26
                                      States in a manner that deprived direct purchasers of free and open
27
                                      competition;
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                                    d. issuing price announcements and price quotations in accordance with
2
                                        the agreements reached;
3

                                    e, selling CRTs to customers in the United States at noncompetitive
4
                                        prices;
5

                                    f. exchanging competitively sensitive information in order to facilitate
6
                                        their conspiracy;
7
                                    g. agreeing to maintain or lower production capacity; and
                                    h. providing false statements to the public to explain increased prices
9
                                        for CRTs.
l0
                        247   .   As a result of Defendants' unlawful conduct, Circuit City was injured in its
ll
     businesses and property in that it paid more for CRT Products than they otherwise would have
t2
     paid in the absence of Defendants' unlawful conduct.
13

                                                  Second Claim for Relief
14
                                     (Violation of the California Cartwrieht Act)
15

                        248. Plaintiff incorporates and realleges, as though fully set forth herein, each
16

     and every allegation set forth in the preceding paragraphs of this Complaint.
t7
                        249. During the Relevant Period, Circuit City conducted a substantial volume of
18

     business in Califomia. In particular, Circuit City purchased CRT Products by sending purchase
t9
     orders to California and payments for CRT Products to California. Circuit City also received
20
     shipments of CRT Products at its warehouses in Califomia. In addition, upon information and
21

     belief, Circuit City maintained California inventories of CRT Products manufactured and sold by
22
     Defendants, their co-conspirators, and others, and operated warehouses in California. Circuit
23

     City also sold CRT Products to customers in California. Finally, Circuit City maintained offtces
24
     and inventories in California of CRT Products and maintained agents and representatives in
25
     California who sold CRT Products to consumers in California. As a result of Circuit City's
26
     business operations in California, it was registered to do business in the State and paid taxes to
27

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         the State of California during the Relevant Period. As a result of Circuit City's substantial
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         contacts with California, Plaintiff is entitled to the protection of the laws of California.
J

                             250. In addition, co-conspirators LG Display, Samsung SDI and Toshiba all
4
         maintained offices in California during the Relevant Period. Employees at locations in California
5

         participated in meetings and engaged in bilateral communications in California and intended and
6

         did cany out anticompetitive agreement to fix the price of CRTs. Samsung SDI admitted in its
7
         plea agreement that acts in furtherance of the conspiracy were carried out in California.
8

         Defendants' conduct within California thus injured Plaintiff, both in California and throughout
9

         the United States.
10
                             2511 Beginning at a time presently unknown to Plaintiff, but at least as early as
l1
         March 7, lgg5, and continuing thereafter at least up to and including at least November 25,2007 ,
t2
         Defendants and their co-conspirators entered into and engaged in a continuing unlawful trust in
13

         restraint of the trade and commerce described above in violation of the Cartwright Act, California
14

         Business and professional Code Section 16720. Defendants have each acted in violation of
15

         Section 16720 to fix, raise, stabilize and maintain prices of, and allocate markets for, CRTs at
t6
         supra-competitive levels. Defendants' conduct substantially affected California commerce.
11
                             252. The aforesaid violations of Section 16720, California Business and
    l8
         professional Code, consisted, without limitation, of a continuing unlawful trust and concert of
    19

         action among Defendants and their co-conspirators, the substantial terms of which were to fix,
20
         raise, maintain and stabilize the prices of, and to allocate markets for, CRTs.
2l
                             253. For the purpose of forming and effectuating the unlawful trust, Defendants
22
         and their co-conspirators have done those things which they combined and conspired to do,
z-t
          including but in no way limited to the acts, practices and course of conduct set forth above and
24
         the following:
25
                                       a. to fix, raise, maintain and stabilize the price of CRTs;
    26
                                       b. to allocate markets for CRTs amongst themselves;
    27
                                       c. to submit rigged bids for the award and performance of certain CRTs
    28                                    contracts; and
                                                              76
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2                                     d. to allocate among themselves the production of CRTs.
J                            254, The combination and conspiracy alleged herein has had, inter alia, the
4        following effects
5
                                      a. price competition in the sale of CRTs has been restrained, suppressed
6
                                          andlor eliminated in the State of California;

7                                     b. prices for CRTs sold by Defendants, their co-conspirators, and others
                                         have been fixed, raised, maintained and stabilized at artificially high,
8                                        non-competitive levels in the State of California; and
9
                                      c. those who purchased CRT Products containing price-fixed CRTs
l0                                       from Defendants, their co-conspirators, and others have been
                                         deprived of the benefit of free and open competition.
ll
                             255. As a result of the alleged conduct of Defendants, Circuit City paid supra-
12


l3
         competitive, artificially inflated prices for the CRT Products it purchased during the Relevant

14       Period.

15
                             256. As a direct and proximate result of Defendants' conduct, Plaintiff has been
16
          injured in its business and property by paying more for CRT Products containing price-frxed
1',l
          CRTs sold by Defendants, their co-conspirators and others than it would have paid in the absence
t8
          of Defendants, combination and conspiracy. As a result of Defendants' violation of Section
19
          16720 of the California Business and Professional Code, Plaintiff is entitled to treble damages
20
          and the costs of suit, including reasonable attorneys' fees, pursuant to Section 16750(a) of the
2l
          California Business and Professions Code.
22
                                                   Third Claim for Relief
23
                                    (Violation of California Unfair Competition Lawl
24
                             257. Ptaintiff incorporates and realleges, as though fully set forth herein, each
25
          and every allegation set lorth in the preceding paragraphs of this Complaint.
    26
                             258. Defendants have engaged in unfair competition in violation of California's
    27
          Unfair Competition Law, California Business and Professional Code $ 17200 et seq.
    28

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                       259. This Complaint is filed, and these proceedings are pursuant to Sections
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           17203 and 17204 of the California Business & Professions Code, to obtain restitution from
J

           Defendant of all revenues, earnings, profits compensation, and benefits which they obtained as a
4
           result of their unlawful, unfair, and fraudulent conduct.
5

                               260. The unlawful, unfair, and fraudulent business practices of Defendants, as
6

           alleged above, injured Plaintiff and members of the public in that Defendants' conduct restrained
7

           competition, causing Circuit City and others to pay supra-competitive and artihcially inflated
8

           prices for CRT Products.
9
                                      a,     Defendants' unlawful Business Practices: As alleged, Defendants
10

                   violated Section 1 of the Sherman Act and the California Cartwright Act by entering into
1l
                   and engaging in a continuing unlawful trust in restraint of trade and commerce'
12

                   Defendants illegally conspired, combined, and agreed to fix, raise, maintain, and/or
l3
                    stabilize prices, and to restrict the output of CRTs'
t4
                                      b.     Defendants' Unfair Business Practices: As alleged above,
15
                    Defendants violated Section 1 of the Sherman Act and the California Cartwright Act by
    l6
                    entering into and engaging in a continuing unlawful trust in restraint of trade and
    17
                    commerce. Defendants illegally conspired, combined, and agreed to fix, raise, maintain,
    l8
                    and/or stabilize prices, and to restrict the output of CRTs'
    19
                                      c.     Defendants' Fraudulent Business Practices: As alleged above,
20
                    Defendants took afÍirmative actions to conceal their collusive activity by keeping
21

                    meetings with coconspirators secret and making false public statements about the reasons
22
                    for artificially inflated prices of CRTs. Members of the public were likely to be deceived,
23
                    and Circuit City and Circuit City Trust were in fact deceived by Defendants' fraudulent
    24
                    actions. As a result of Defendants' unfair competition, Plaintiff suffered injury in fact and
    25
                    has lost money or ProPertY'
    26
                               26L The acts, omissions, misrepresentations, practices, and non-disclosures of
    2',Ì

            Defendants, as described above, constitute a common, continuous, and continuing course of
    28

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conduct of unfair competition by means of unfair, unlawful, and/or fraudulent business acts or

practices with the meaning of Section 17200 et seq.

                    262. Defendants' acts, omissions, misrepresentations, practices, and non-
disclosures are unfair, unconscionable, unlawful, and/or fraudulent independently of whether they

constitute a violation of the Sherman Act or the Cartwright Act.

                    263. Defendants' acts or practices are fraudulent or deceptive within the
meaning of Section 11200 et seq,

                    264. By reason of the foregoing, Plaintiff is entitled to full restitution and/or
disgorgement of all revenues, earnings, profits, compensation, and benefits that may have been

obtained by Defendants as result of such business acts and practices described above.

                                         Fourth Claim for Relief



                    265, Plaintiff incorporates and realleges, as though fully set forth herein, each
and every allegation set forth in the preceding paragraphs of this Complaint.

                    266. During the Relevant Period, each of the Defendants named herein, directly,
and through aff,rliates or subsidiaries or agents they dominated and controlled, manufactured,

sold, and/or distributed CRT Products in commerce in the United States, including Illinois.

Defendants' conspiracy constituted a conspiracy among competitors with the purpose and effect

of restraining, suppressing and/or eliminating competition in the sale of CRT Products in Illinois

and flrxing, raising, maintaining and stabilizing CRT Product prices in Illinois at afüficially high,

noncompetitive levels. Defendants' conduct and fraudulent concealment caused injury to Circuit

 City, as both a direct and indirect purchaser, as Defendants' supra-competitive prices were passed

 on to Circuit City as a purchaser.

                    267. Defendants' conspiracy substantially affected Illinois commerce and
 unreasonably restrained trade in Illinois.

                    268. During the Conspiracy Period, Circuit City received shipments of and took
 title to CRT Products at Circuit City's distribution center in Marion, Illinois and therefore

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     purchased the products in Illinois at artificially-inflated prices because of defendants' price fixing
2
     conspiracy. Under Circuit City's contracts with defendants and other vendors, Circuit City did
J

     not receive title to a substantial amount of the CRT Products ordered by Circuit City until it
4
     received and accepted shipments of those CRT Products at its Marion Illinois Distribution Center.
5

                           269. During the Conspiracy Period, Circuit City conducted a substantial volume
6
     of business in Illinois. Circuit City sold CRT Products and other products in retail stores in
7

     Illinois and on the Internet to Illinois customers. In addition, Circuit City maintained in Illinois
8

     inventories of CRT Products manufactured and sold by defendants, their co-conspirators, and
9
     others. As a result of Circuit City's presence in Illinois and the substantial business it conducted
l0
     in Illinois, Circuit City Trust is entitled to the protection of the laws of Illinois; and
1l
                           270. As a direct and proximate result of defendants' conduct, Circuit City was
12

     injured by paying more for CRT Products purchased in Illinois from defendants, their co-
13

     conspirators and others than it would have paid in the absence of defendants' combination and
t4
     conspiracy, and are entitled to relief under the Illinois Antitrust Act.
15

     XI.      PRAYER             R RELIEF
t6
                           V/HEREFORE, Plaintiff prays that the Court enter judgment on its behalf,
17

     adjudging and decreeing that:
t8
                           A.     Defendants engaged in a contract, combination, and conspiracy in violation
19

     of Section 1 of the Sherman Act (15 U.S,C. $ 1), the California Cartwright Act, the California
20
     Unfair Competition Law, and the Illinois Antitrust Act, and that Plaintiff was injured in its
21

     business and property as a result of Defendants' violations, and that defendants unjustly retained
22
      substantial benefits received due to such conspitacy;
23
                           B.     Plaintiff shall recover damages sustained by it, as provided by the federal
24
      and state antitrust laws, and a joint and several judgment in favor of Plaintiff shall be entered
25
      against the Defendants in an amount to be trebled in accordance with such laws, including
26
      Section 4 of the Clayton Act;
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                        C.   Defendants engaged in a contract, combination, and conspiracy in violation
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     of the California Cartwright Act, Cal. Bus. & Prof. Code $$ 16700 et seq., and Plaintiff was
J

     injured in its business and property as a result of Defendants' violations;
4
                        D.   Plaintiff shall recover damages sustained by it, as provided by California
5

     Cartwright Act, Cal. Bus. & Prof. Code $$ 16700 et seq., and a joint and several judgment in
6

     favor of Plaintiff shall be entered against the Defendants in an amount to be trebled in accordance
7

     with such laws;
8

                        E.   Defendants engaged in unlawful, unfair, and fraudulent business practices
9

     in violation of California Business and Professions Code $$ 17200, et seq., and Plaintiff was
10

     injured in its business as a result of Defendants' violations;
t1
                        F.   Plaintiff shall recover damages sustained by it as a result of Defendants'
t2
     violations of Cal, Bus. & Prof. Code $$ 17200 et seq,;
l3
                        G.   Defendants engaged in a contract, combination, and conspiracy in violation
t4
     of the Illinois Antitrust Act, and Plaintiff was injured in its business and property as a result of
15

     Defendants' violations;
16
                        H.   Plaintiff shall recover damages sustained by it, as provided by the Illinois
17

     Antitrust Act, and a joint and several judgment in favor of Plaintiff shall be entered against the
l8
     Defendants;
19

                        L    Defendants received substantial benefits in the form of higher prices paid
20
     by Circuit City for CRT Products as a result of their conspiracy, and have unjustly retained these
2l
     substantial benefits, at the expense of Circuit City;
22
                        J.   Defendants shall disgorge all ill-gotten gains and Plaintiff shall be entitled
23

     to restitution;
24
                        K.   Plaintiff shall be awarded pre-judgment and post-judgment interest, and
25
     such interest shall be awarded at the highest legal rate from and after the date of service of the
26
     initial complaint in this action;
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                    L.     Plaintiff shall recover its costs of this suit, including reasonable attorneys'

fees as provided by law; and

                    M.     Plaintiff shall receive such other or further relief as may be just and proper.

XII. JURY TRIAL DEMAND
                    Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands atrial by jury

of all the claims asserted in this Complaint so triable

Dated: November 8,2013                                  S              DFREY L.


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J                                                Attorneys þr plaintiff Alfred H, Siegel,
                                                 solely in his capacity as Trustee of the
4                                                Circuit City Stores, Inc, Liquidating Trust
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